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                EXHIBIT C
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Ament-Stone, Nathaniel

From:                                Ament-Stone, Nathaniel
Sent:                                Sunday, May 10, 2020 12:39 PM
To:                                  'Walter W. Noss'; Lauer, Eliot; Semmelman, Jacques
Cc:                                  Derek Brandt; Jill Manning; Allan Steyer; Stephanie Hackett; Todd Schneider; Kyle Bates;
                                     Robert J Palmersheim; Anand C. Mathew; Timothy G. Parilla; Mrkonic, Matthew G.
Subject:                             RE: External: RE: Ali - Discovery from GIAG and Pacorini Vliss
Attachments:                         2020-05-10 - GIAG & AW Vliss Discovery Proposal.docx; 2020-05-10 GIAG & AW Vliss
                                     Discovery Proposal (redline against Pltfs.' 0....pdf


Counsel:

Thanks for your proposal on discovery and for meeting-and-conferring with us on Thursday. I note first that we would
treat these negotiations as subject to Rule 408 and are aiming for a complete agreement on discovery parameters, rather
than binding each side by a partial agreement-in-principle where remaining issues of importance are unresolved. We’d
also note that there has already been extensive discovery from Glencore Ltd. and Access World (USA) LLC, as well as
from Goldman Sachs, Henry Bath, JPMorgan, Metro, and their various affiliates, in the Aluminum actions, and that
Fujifilm and Reynolds/Southwire counsel have had access to this record—which has included hundreds of thousands of
documents produced and thousands of pages of deposition testimony. This written and testimonial discovery was focused
on communications between Defendants’ affiliates, including communications involving Glencore International AG and
Access World (Vlissingen) B.V. We would expect that any relevant communications concerning Glencore International
AG or Access World (Vlissingen) B.V. have likely already been produced in this litigation pursuant to the parties’ agreed-
upon search parameters.

We approach the current requests with that background in mind. Moreover, given the breadth of Glencore’s aluminum
business, including in transactions and regions that have no relevance to this litigation, it is crucial to identify the topics
that search parameters are intended to capture, tying those topics to allegations in the Fujifilm and Reynolds/Southwire
complaints. We see the following as potentially relevant subject matters for these defendants, and have proposed the
attached discovery parameters in the interest of reaching a global compromise:

    •   Swap transactions for LME primary aluminum involving either of these two defendants and JPMorgan, Henry
        Bath, Goldman Sachs, or Metro in Detroit or Vlissingen. (Both complaints refer to a 2011 swap with JPMorgan
        involving metal in Detroit and Vlissingen. See Fujifilm Compl. ¶¶ 231-234, 240-241; Reynolds/Southwire Compl.
        ¶¶ 107-110, 130.)
    •   Alleged agreements with JPMorgan, Henry Bath, Goldman Sachs, or Metro involving the cancellation or non-
        cancellation of warrants for LME primary aluminum in Detroit or Vlissingen. (The Fujifilm complaint refers to
        such an alleged agreement in August 2010 for metal at Metro Detroit. See Fujifilm Compl. ¶¶ 212, 216.)
    •   The Vlissingen queue that formed in early 2012 and any related warrant cancellations or load-outs involving
        Glencore International AG or Access World (Vlissingen) B.V.

We understand that the parties have agreed in principle on the following four custodians: Gary Fegel, Robin Scheiner,
Simon Yntema, and Peter Waszkis. We also understand that the parties have agreed there will be one deposition (Robin
Scheiner’s).

We expect to provide the required Rule 26(a) initial disclosures by May 26, 2020.

In light of the enormous record already amassed in this case, the paucity of these complaints’ allegations concerning
Glencore International AG and Access World (Vlissingen) B.V., and Judge Engelmayer’s urging of “limited discovery,”
we believe that our discovery proposal encompasses an appropriate scope of relevant discovery. We welcome your
thoughts.

All the best,
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Nathaniel Ament-Stone
Associate

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New York, New York 10178-0061


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       environment before
       printing this email.




From: Walter W. Noss [mailto:wnoss@scott-scott.com]
Sent: Wednesday, May 06, 2020 7:03 AM
To: Ament-Stone, Nathaniel; Lauer, Eliot; Semmelman, Jacques
Cc: Derek Brandt; Jill Manning; Allan Steyer; Stephanie Hackett; Todd Schneider; Kyle Bates; Robert J Palmersheim;
Anand C. Mathew; Timothy G. Parilla; Mrkonic, Matthew G.
Subject: RE: External: RE: Ali - Discovery from GIAG and Pacorini Vliss

***EXTERNAL EMAIL***
That works.

From: Ament-Stone, Nathaniel [mailto:nament-stone@curtis.com]
Sent: Tuesday, May 5, 2020 15:31
To: Walter W. Noss ; Lauer, Eliot ; Semmelman, Jacques
Cc: Derek Brandt ; Jill Manning ; Allan Steyer ; Stephanie Hackett ; Todd Schneider ; Kyle Bates ; Robert J
Palmersheim ; Anand C. Mathew ; Timothy G. Parilla ; Mrkonic, Matthew G.
Subject: External: RE: Ali - Discovery from GIAG and Pacorini Vliss

Walter et al.:

Would Thursday at 6pm EDT / 3pm PDT work for you?

All the best,
Nathaniel

From: Walter W. Noss [mailto:wnoss@scott-scott.com]
Sent: Monday, May 04, 2020 4:50 PM
To: Lauer, Eliot; Semmelman, Jacques; Ament-Stone, Nathaniel
Cc: Derek Brandt; Jill Manning; Allan Steyer; Stephanie Hackett; Todd Schneider; Kyle Bates; Robert J
Palmersheim; Anand C. Mathew; Timothy G. Parilla; Mrkonic, Matthew G.
Subject: Ali - Discovery from GIAG and Pacorini Vliss

***EXTERNAL EMAIL***
Eliot:

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